          Case 2:18-cv-00167-cr Document 39-1 Filed 03/14/19 Page 1 of 2



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF VERMONT


 AMERICAN CABLE ASSOCIATION, CTIA
 – THE WIRELESS ASSOCIATION, NCTA –
 THE INTERNET & TELEVISION
 ASSOCIATION, NEW ENGLAND CABLE
 & TELECOMMUNICATIONS
 ASSOCIATION, and USTELECOM – THE
 BROADBAND ASSOCIATION, on behalf of                     Case No. 2:18-cv-00167-CR
 their members,

                             Plaintiffs,

               v.

 PHILIP B. SCOTT, in his official capacity as
 the Governor of Vermont; SUSANNE R.
 YOUNG, in her official capacity as the
 Secretary of Administration; JOHN J. QUINN
 III, in his official capacity as the Secretary and
 Chief Information Officer of the Vermont
 Agency of Digital Services; and JUNE E.
 TIERNEY, in her official capacity as the
 Commissioner of the Vermont Department of
 Public Service

                             Defendants.


   [PROPOSED] ORDER REGARDING CONTINGENT EXTENSION OF PENDING
                           DEADLINES
       Plaintiffs and Defendants have jointly submitted a Stipulation Regarding Temporary Stay

of Litigation and Injunction Barring Enforcement of Executive Order No. 2-18 and Act 169, as

well as a Stipulation Regarding Contingent Extension of Pending Deadlines—with the latter

Stipulation aimed at conserving judicial and party resources while the Court considers the former

Stipulation. Having considered the latter Stipulation, and with good cause appearing, the Court

orders as follows:
            Case 2:18-cv-00167-cr Document 39-1 Filed 03/14/19 Page 2 of 2



       1.         Defendants’ brief in opposition to Plaintiffs’ motion for summary judgment shall

be filed on or before March 25, 2019 (unless the Temporary Stay and Injunction is granted).

       2.         Plaintiffs’ responses to Defendants’ discovery requests shall be served on or

before April 12, 2019 (unless the Temporary Stay and Injunction is granted).



IT IS SO ORDERED


Dated: _______________________                                 ___________________________
                                                               Hon. Christine Reiss


7558403_1:13307-00001
